 Case 2:12-cr-20141-KHV          Document 413        Filed 10/23/13      Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
                                            )                     CRIMINAL ACTION
v.                                          )
                                            )                     No. 12-20141-18-KHV
CHRISTOPHER CRAIG,                          )
                                            )
                         Defendant.         )
____________________________________________)

                               MEMORANDUM AND ORDER

       This matter comes before the Court on defendant’s pro se Bar Complaint And Motion For

Sanctions Against AUSA Sheri McCracken (Doc. #387) filed August 30, 2013. The Court overrules

defendant’s pro se motion because he is represented by counsel who did not sign the motion. See

United States v. Sandoval-DeLao, 283 Fed. Appx. 621, 625 (10th Cir. 2008) (no error in refusal to

consider pro se motion when defendant represented by counsel); United States v. Castellon, 218 Fed.

Appx. 775, 780 (10th Cir. 2007) (if criminal defendant represented by counsel, court does not accept

pro se filings or allegations); United States v. McKinley, 58 F.3d 1475, 1480 (10th Cir. 1995) (no

constitutional right to “hybrid form of representation”). In any event, defendant has not shown that

sanctions against government counsel are appropriate in this case.1

       IT IS THEREFORE ORDERED that defendant’s pro se Bar Complaint And Motion For

Sanctions Against AUSA Sheri McCracken (Doc. #387) filed August 30, 2013 be and hereby is

OVERRULED.




       1
              To the extent that defendant seeks to file a formal complaint, he may direct his
complaint to Stanton A. Hazlett, Disciplinary Administrator, Kansas Board for Discipline of
Attorneys, 701 SW Jackson Street, 1st Floor, Topeka, Kansas 66603-3729.
Case 2:12-cr-20141-KHV       Document 413        Filed 10/23/13     Page 2 of 2




     Dated this 23rd day of October, 2013 at Kansas City, Kansas.

                                                   s/ Kathryn H. Vratil
                                                   Kathryn H. Vratil
                                                   United States District Judge




                                           -2-
